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UNITED sTATEs DISTRICT CoURT 30”}§';1,`,""{,§‘;¥2§?¥';';€,,
soUTHERN DISTRICT oF TExAS F'LE“
HoUsToN DIvIsIoN UEC 0 6 2017

UNITED sTATEs oF AMERICA

§ oavld.x.a:ausey,cxerkorccurc

vs. § CRIMINAL No.

§

JoE CEPHUS Ross §

17CR7ZO

CRIMINAL INDICTMENT

THE GRAND JURY CHARGES THAT:
INTRODUCTION

At all times material to this lndictment:
l. The term "minor" is defined, pursuant to Title 18, United States Code, Section 2256(1), as
"any person under the age of eighteen>years."
2. The term "child pornography,” for purposes of this lndictment, is defined, pursuant to Title
lS, United States Code, Section 2256(8)(A), as:

"any visual depiction, including any photograph, film, video, picture, or computer or
computer-generated image or picture, Whether made or produced by electronic, mechanical,
or other means, of sexually explicit conduct, Where -

(A) the production of such visual depiction involves the use of a minor engaged in
sexually explicit conduct.”

3. The term "sexually explicit conduct" is defined, pursuant to Title 18, United States Code,

Section 2256(2)(A), as any:

"actual or simulated -

(i) sexual intercourse, including genital [to] genital, oral [to] genital, anal [to] genital, or
oral [to] anal, Whether between persons of the same or opposite sex; [or]

(ii) bestiality; [or]

(iii) masturbation; [or]

(iv) sadistic or masochistic abuse; or

(v) [the] lascivious exhibition of the genitals or pubic area of any person."

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4. The term "computer" is defrned, pursuant to Title 18, United States Code, Sections 2256(6)

and lO30(e)(l), as any:
"electronic, magnetic, optical, electrochemical, or other high speed data processing device
performing logical, arithmetic, or storage functions, and includes any data storage facility or
communications facility directly related to or operating in conjunction with such device, but
such term does not include an automated typewriter or typesetter, a portable hand held
calculator or other similar device."

5. The term "producing", for purposes of this Indictment, is defined, pursuant to Title 18,

United States Code, Section 2256(3) and case law, as:

“producing, directing, manufacturing, issuing, publishing or advertising” and includes
downloading or copying visual depictions from another source.

6. The term "visual depiction" is defined, pursuant to Title 18, United States Code, Section
2256(5), as including, but is not limited to, any:

“undeveloped film and videotape, and data stored on computer disk or by electronic means
which is capable of conversion into a visual image.”

COUNT ONE
(Receipt of Child Pornography)

From on or about February 18, 2016, through on or about July l9, 2016, within the Southern
Distn'ct of Texas,
JOE CEPHUS ROSS,
defendant herein, did knowingly receive material that contained child pornography using any means
and facility of interstate and foreign commerce, including by computer.
In violation of Title 18, United States Code, Section 2252A(a)(2)(B) and Section

2252A(b)(1).

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COUNT TWO
(Possession of Child Pornography)

On or about August l9, 2016, within the Southern District of Texas,
JOE CEPHUS ROSS,
defendant herein, did knowingly possess material that contained an image of child pornography,
which had been shipped and transported using any means and facility of interstate and foreign
commerce, or which were produced using materials which have been mailed, shipped, and
transported in and affecting interstate and foreign commerce, by any means, including by computer,
more specifically: the defendant possessed a Dell desktop computer s/n 6B42821, a HP desktop
computer s/n CNX934OXHS, a Samsung Galaxy S3 cellular phone FCC ID A3LSPHL710 and
DVDs which contained images and videos of child pomography.

In violation of Title 18, United States Code, Sections 2252A(a)(5)(B) and 2252A(b)(2).

NOTICE OF FORFEITURE
18 U.S.C. § 2253(a)

Pursuant to Title 18, United States Code, Section 2253(a)(2) and (a)(3), the United States
gives the defendant notice that in the event of conviction for the offenses charged in Count One and
Count Two of the Indictment, the United States will seek to forfeit all property, real and personal,
constituting or traceable to gross profits or other proceeds obtained from the offenses charged in
Count One and Count Two; and all property, real and personal, used or intended to be used to
commit or to promote the commission of the offenses charged in Count One and Count Two, or any
property traceable to such property, including, but not limited to, the following:

A Dell desktop computer s/n 6B4282l;

A HP desktop computer s/n CNX934OXHS;

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A Samsung Galaxy cellular phone FCC ID A3LSPHL710; and

DVDs.
A True Bill:
ORIG|NAL S|GNATURE ON F|LE
(jra Jury boreperson

ABE MARTINEZ

Acting United States Attomey

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Kr/inberly Arin I:eo

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